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                                                               United States Bankruptcy Court
                                                                        District of Colorado
 In re      CEC Development Borrower, LLC                                                              Case No.
                                                                                Debtor(s)              Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for CEC Development Borrower, LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 CEC Renewable Assets Development, LLC
 363 Centennial Parkway, #300
 Louisville, CO 80027




    None [Check if applicable]




 July 2, 2020                                                        /s/ David V. Wadsworth
 Date                                                                David V. Wadsworth 32066
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for CEC Development Borrower, LLC
                                                                     Wadsworth Garber Warner Conrardy, P.C.
                                                                     2580 West Main Street
                                                                     Suite 200
                                                                     Littleton, CO 80120
                                                                     303-296-1999 Fax:303-296-7600
                                                                     dwadsworth@wgwc-law.com




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